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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MARC ELBAZ,

                                          Plaintiff ,                            COMPLAINT

                        -against-

THE CITY OF NEW YORK, POLICE OFFICER PEDRO
ALMANZAR, Shield No. 20768, and JOHN and JANE DOE                                Jury Trial Demanded
 1 through 3, Individually and in their official capacities (the
names John and Jane Doe being fictitious, as the true names
 are presently unknown),

                                           Defendants.
---------------------------------------------------------------------------x

        Plaintiff, MARC ELBAZ, by his attorney, EDWARD FRIEDMAN, complaining

of the defendants, respectfully allege as follows:

                                    PRELIMINARY STATEMENT

        1.       Plaintiff brings this action for compensatory damages, punitive damages

 and attorney’s fees pursuant to 42 U.S. §§ 1983 and 1988 for violation of the plaintiff’s

 civil rights, as said rights are secured by said statutes and the Constitution of the State of

 New York and the United States.

                                              JURISDICTION

        2.       The action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the

Fourth and Fourteenth Amendments to the United States Constitution.

        3.       Jurisdiction is found upon 28 U.S.C. §§1331, 1343 and 1367.

                                                    VENUE

        4.       Venue is properly laid in the Eastern District of New York under 28 U.S.C.
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§1391(b), in that it is the District in which the claim arose.

                                     JURY DEMAND

       5.      Plaintiff respectfully demands a trial by jury of all issues in the matter

pursuant to Fed. R. Civ. P. 38(b).

                                         PARTIES

       6.      Plaintiff MARC ELBAZ is a legal resident of the United States and a

resident of the State of New York.

       7.      Defendant CITY OF NEW YORK was and is a municipal corporation duly

organized and existing under and by virtue of the laws of the State of New York.

       8.      Defendant CITY OF NEW YORK maintains the New York City Police

Department, a duly authorized public authority and/or police department, authorized to

perform all functions of a police department as per the applicable sections of the

aforementioned municipal corporation, City of New York.

       9.      That at all times hereinafter mentioned, the defendants, PEDRO

ALMANZAR and JOHN and JANE DOE 1 through 3 were duly sworn police officers of

said department and were acting under the supervision of said department and according

to their official duties.

       10.     That at all times hereinafter mentioned the defendants, either personally or

through their employees, were acting under color of state law and/or in compliance with

the official rules, regulations, laws, statutes, customs, usages and/or practices of the State

or City of New York.
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       11.      Each and all of the acts of the defendants alleged herein were done by said

defendants while acting within the scope of their employment by defendant CITY OF

NEW YORK.

       12.      Each and all of the acts to be alleged herein were done by said individuals

while acting in furtherance of their employment by defendant CITY OF NEW YORK.

                                           FACTS

       13.      On July 7, 2014 at approximately 9:27 A.M plaintiff was lawfully

operating his vehicle in the vicinity of Avenue H and Nostrand Avenue, in the County

of Kings, City of New York, when he stopped to allow his wife to exit the vehicle.

       14.      At the aforesaid time and place, the defendants, members of the New York

City Police Department, unlawfully and without reasonable suspicion or probable cause

approached plaintiff’s vehicle as his wife was exiting said vehicle.

       15.      Defendants pushed plaintiff’s wife back into the car. When plaintiff

protested, defendants handcuffed his wrists tightly and arrested him. The plaintiff was

taken to the 70th Precinct, and subsequently to Central Booking in Kings County, City

and State of New York, where he was arraigned on July 8, 2014 on various charges,

including Failure to Comply With a Traffic Sign, Reckless Driving, Obstructing

Governmental Administration and Resisting Arrest. Plaintiff was held in custody until

approximately 1:00 A.M. on July 8, 2014              when he was released on his own

recognizance.




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         16.    Defendants caused plaintiff to be prosecuted until January 8, 2015 when all

charges were adjourned in contemplation of dismissal pursuant to CPL170.55 and

immediately sealed.

         17.    As a result of the foregoing, plaintiff    sustained, inter alia, emotional

distress, embarrassment, and humiliation, loss or business reputation, lost earnings and

deprivation of his constitutional rights.

                                    FEDERAL CLAIMS

                      AS AND FOR A FIRST CAUSE OF ACTION
                       (Deprivation of Rights Under 42 U.S.C.§1983)

         18.    Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs “1" through “17" with the same force and effect as if fully set

forth herein.

         19.    All of the aforementioned acts of defendants, their agents, servants and

employees were carried out under the color of State law.

         20.    All of the aforementioned acts deprived plaintiff of the rights, privileges

and immunities guaranteed to citizens of the United States by the Fourth and Fourteenth

Amendments to the Constitution of the United States, and in violation of 42 U.S.C.

§1983.

          21.   The acts complained of were carried out by the aforementioned individual

defendants in their capacities as police officers, with the entire actual and/or apparent

authority attendant thereto.

         22.    The acts complained of were carried out by the aforementioned individual


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defendants in their capacities as police offices, pursuant to the customs, usages, practices,

procedures, and the rules of the City of New York and the New York City Police

Department, all under the supervision of ranking officers of said department.

       23.     Defendants, collectively and individually, while acting under color of State

law, engaged in conduct that constituted a custom, usage, practice, procedure or rule of

the respective municipality/authority, which is forbidden by the Constitution of the

United States.

       24.        As a result of the aforementioned conduct of defendants, plaintiff was

injured.

                    AS AND FOR A SECOND CAUSE OF ACTION
                         (False Arrest Under 42 U.S.C. §1983)

       25.     Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1" through “24" with the same force and effect as if

fully set forth herein.

       26.     The defendants unlawfully arrested the plaintiff against his will without

probable cause.

       27.     As a result of the foregoing, plaintiff was deprived of his Fourth and

Fourteenth Amendment rights.

                     AS AND FOR A THIRD CAUSE OF ACTION
                      (Malicious Prosecution Under 42 U.S.C.§1983)

       28.     Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1" through “26” with the same force and effect as if

fully set forth herein.

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       29.     Defendants initiated, commenced and continued a malicious prosecution

against the plaintiff by providing false and/or misleading information to the Kings

County District Attorney’s Office.

       30.     As a result of the aforementioned conduct of defendants, plaintiff was

injured.

                    AS AND FOR A FOURTH CAUSE OF ACTION
                      (Supervisory Liability Under 42 U.S.C. §1983)

       31.     Plaintiff repeats, reiterates, and realleges each and every allegation

contained in paragraphs number “1" though “30" with the same force and effect as if

fully set forth herein.

       32.     The supervisory defendants personally caused plaintiff’s constitutional

injury by being deliberately or consciously indifferent to the rights of others in failing to

properly supervise and train their subordinate employees.

       33.     As a result of the aforementioned conduct of defendants, plaintiff was

injured.

                      AS AND FOR A FIFTH CAUSE OF ACTION
                       (Failure To Intervene Under 42 U.S.C. §1983)

       34.     Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs number “1" through “31" with the same force and effect as if

fully set forth herein.

       35.     Defendants had an affirmative duty to intervene on behalf of plaintiff,

whose constitutional rights were being violated in their presence by other officers.



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       36.     The defendants failed to intervene to prevent the unlawful conduct

described herein.

       37.     As a result of the foregoing, plaintiff’s liberty was restricted for an

extended period of time, he was put in fear of his safety, and he was humiliated and

subjected to handcuffing and other physical restraints.

                     AS AND FOR A SIXTH CAUSE OF ACTION
                       (Municipal LiabilityUnder 42 U.S.C. §1983)

       38.     Plaintiff repeats, reiterates and realleges each and every allegation

contained in paragraphs numbered “1" through “37" with the same force and effect as if

fully set forth herein.

       39.     Defendants, collectively and individually, while acting under color of state

law, engaged in conduct that constituted a custom, usage, practice, procedure or rule of

the respective municipality/authority, which is forbidden by the Constitution of the

United States.

       40.     The aforementioned customs, policies, usages, practices, procedures and

rules of the City of New York Police Department included, but were not limited to, a de

facto blanket policy, custom or practice of encouraging the unlawful arrests, detention

and use of excessive force against males of certain ethnic groups by the NYPD.            In

Addition, the City of New York engaged in a policy, custom or practice of inadequate

screening, hiring, retaining, training and supervising its employees that was the moving

force behind the violation of plaintiff ‘s rights as described herein. As a result of the

failure of the City of New York to properly recruit, screen, train, discipline, and supervise


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its officers, including the individual defendants, defendant CITY OF NEW YORK has

tacitly authorized, ratified, and has been deliberately indifferent to, the acts and conduct

complained of herein.

       41.    The foregoing customs, policies, usages, practices, procedures and rules of

the City of New York and the New York City Police Department constituted deliberate

indifference to the safety, well-being and constitutional rights of plaintiff.

       42.    The foregoing customs, policies, usages, practices, procedures and rules of

the City of New York and the New York City Police Department were the direct and

proximate cause of the constitutional violations suffered by plaintiff as alleged herein.

       43.    The foregoing customs, policies, usages, practices, procedures and rules of

the City of New York and the New York City Police Department were the moving force

behind the Constitutional violations suffered by plaintiff as alleged herein.

       44.    As a result of the foregoing customs, policies, usages, practices, procedures

and rules of the City of New York and the New York City Police Department, plaintiff

was unlawfully seized, detained and incarcerated.

       45.    Defendants, collectively and individually, while acting under color of state

law, were directly and actively involved in violating plaintiff ‘s constitutional rights.

       46.    All of the foregoing acts by defendants deprived plaintiff of federally

protected rights, including, but not limited to, the right:

              A.      Not to be deprived of liberty without due process of law;

              B.      To be free from false arrest and malicious prosecution,

              C.      To be free from the failure to intervene.

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        47.   As a result of the foregoing, is entitled to compensatory damages in an

amount to be fixed by a jury, and is further entitled to punitive damages against the

individual defendants in an amount to be fixed by a jury, plus reasonable attorney’s fees,

costs and disbursements of this action.

        WHEREFORE, plaintiff demand judgment and prays for the following relief,

jointly and severally, against the defendants:

        A.    Full and fair compensatory damages in an amount to be determined by a

jury;

        B.    Punitive damages in an amount to be determined by a jury;

        C.    Reasonable attorney’s fees and the costs and disbursements of their actions;

and

        D.    Such other and further relief as appears just and proper.

Dated: Brooklyn, New York
       July 6, 2015




                                                 s/______________________________
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